                      IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: Garrette F. Roche, Jr., a/k/a Garrett         )      CHAPTER 13
            F. Roche, Jr.                            )
                    Debtor                           )
                                                     )      CASE NO. 1:22-00534-HWV
        Nationstar Mortgage LLC                      )
                     Movant                          )
                                                     )
        Garrette F. Roche, Jr., a/k/a Garrett        )
              F. Roche, Jr.                          )
                     Debtor                          )
                                                     )
        JACK N. ZAHAROPOULOS                         )
                   TRUSTEE                           )

DEBTOR’S RESPONSE TO NATIONSTAR MORTGAGE LLC MOTION FOR RELIEF
     FROM THE AUTOMATIC STAY UNDER 11 U.S.C. 362 PURSUANT TO
                BANKRUPTCY PROCEDURE RULE 4001

       1. Movant, Nationstar Mortgage LLC, filed its Motion for Relief from Stay on September
22, 2022.

        2. Debtor acknowledges some mortgage payments are past due.

        3. Debtor desires the opportunity to cure any post-petition mortgage arrears and keep his
home.

        4. Debtor requests the Court deny Movant’s Motion for Relief.


        WHERFORE, Debtor, Garrette F. Roche, Jr., prays the Court enter its order denying the
Motion for Relief from the Automatic Stay that was filed September 22, 2022, by Nationstar
Mortgage LLC.

Dated: September 22, 2022                                   /s/Nicholas G. Platt
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